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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

ELIZABETH DUKE,

       Plaintiff,

v.                                                                 Civ. No. 17-860 SCY/LF

THE GOVERNING COUNCIL OF THE
NORTH VALLEY ACADEMY
CHARTER SCHOOL,

       Defendant.

                                     ORDER OF DISMISSAL

         THIS MATTER having come before the Court on Plaintiff and Defendant Governing

Council of the North Valley Academy Charter School’s Joint Motion to Dismiss Plaintiff’s

Complaint (Doc. 10) and the Court, being fully advised in the premises, hereby finds that

Plaintiff’s Complaint against these Defendants should be dismissed with prejudice.

         IT IS THEREFORE ORDERED that the joint motion to dismiss is granted and

Plaintiff’s claims against Defendant are hereby dismissed with prejudice, with each party to bear

their own costs and attorney fees.



                                                    ____________________________________
                                                    UNITED STATES MAGISTRATE JUDGE
                                                    Presiding by Consent




SUBMITTED & APPROVED BY:

NARVAEZ LAW FIRM, P.A.

Approved via email on February 19, 2018
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